                    Case 3:25-cv-00107-TCB               Document 2        Filed 05/06/25        Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Northern District
                                                __________ Districtof
                                                                    ofGeorgia
                                                                      __________

                KASON INDUSTRIES, INC.                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 3:25-cv-00107-TCB
                                                                 )
    SUPERMARKET ENERGY SOLUTIONS, INC.                           )
            (DBA GREENWIZE)
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       SuperMarket Energy Solutions, Inc. (dba GreenWize)
                                       c/o Bruce Malwitz
                                       2097 Barton Ave NW
                                       Buffalo, MN 55313



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael J. Powell
                                       Powell IP Law, LLC
                                       10 Glenlake Parkway, Suite 130
                                       Atlanta, Georgia 30328
                                       678.222.3444
                                       mjp@NavigatingIP.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            KEVIN P. WEIMER
                                                                           CLERK OF COURT


             05/06/2025                                                        s/ J. Brown
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 3:25-cv-00107-TCB                 Document 2         Filed 05/06/25           Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:25-cv-00107-TCB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
